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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Carole Herbster, Alex Schap, Charles Schap           )
                      Plaintiffs                     )
                                                     )
Vs                                                   )
                                                     )       16 CV 11555
3550 Condominium Association;                        )
DK Condo, A Draper and Kramer Company,               )
                   Defendants                        )


                     SUGGESTION OF DEATH UPON THE RECORD
        Counsel for Plaintiffs in the above-referenced action gives notice and suggest upon the

record, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, the death of Carole

Herbster, a plaintiff in this action. Carole Herbster passed away on February 1, 2020.

Dated: February 4, 2020                                      Respectfully Submitted,


                                                             ___/s/ Mary Rosenberg__________
                                                             One of the Attorneys for Plaintiff

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on February 4, 2020 I filed electronically the foregoing with the
Clerk of the Court using the CM/ECF system. Notice of this filing is sent to the parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

                                                             _/s/ Mary Rosenberg_____________
                                                             One of the Attorneys for Plaintiffs
